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                                                       December 21, 2023

   VIA E-MAIL (mpfitzgerald@mdwcg.com)
   Maureen P. Fitzgerald, Esq.
   Marshall Dennehy Warner Coleman & Goggin
   15000 Midatlantic Drive, Suite 200
   P.O. Box 5429
   Mount Laurel, NJ 08054

   Re:      Star Auto Sales of Bayside, Inc., et al. v. Voynow, Bayard, Whyte and Co., LLP, et al.
            Case No.: 1:18-cv-5775 (ERK) (TAM)
            Defendants’ File No.: 03127-1373
            MLLG File No.: 76-2018               ___________________________________________

   Dear Ms. Fitzgerald:

         Below is a list of documents Plaintiffs requested during Vincent Petruzziello’s deposition
   on December 18, 2023:

         1. Complete expert report(s) of Vincent Petruzziello in Brandon Chrysler v. Reed Smith
            matter as referenced in the deposition; and

         2. Identification of the “Various Discovery documents provided by Counsel,” referenced in
            Mr. Petruzziello’s November 10, 2023 rebuttal report and referenced in the deposition.

            Please produce these documents and information by January 3, 2024. If Defendants object
   to this request, please provide your availability to meet and confer on January 4, 2024.

                                                       Very truly yours,
                                                       MILMAN LABUDA LAW GROUP PLLC
                                                       Michael C. Mulè
                                                       Michael C. Mulè
